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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

        Plaintiffs,

  v.                                              Case No: 8:19-cv-710-MSS-TGW

  BRIGHT HOUSE NETWORKS,
  LLC.,

        Defendants.


                                      ORDER

        On May 25, 2022, and May 26, 2022, the Court held a hearing on Plaintiffs’

  Motion to Strike Portions of the Declarations of Duncan Hall, Timothy Frendberg,

  and Andrew Schapiro, (Dkt. 483), Plaintiffs’ Motion to Strike Portions of the

  Opposition Declarations of Duncan Hall, Timothy Frendberg, and Andrew Schapiro,

  (Dkt. 519), Plaintiffs’ Motion to Exclude Certain Opinions and Testimony of Dr.

  Aram Sinnreich, (Dkt. 590), Bright House’s Motion to Exclude the Opinions and

  Testimony of On Amir, (Dkt. 578), Bright House’s Motion to Exclude the Opinions

  and Testimony of Barbara Frederiksen-Cross, (Dkt. 579), Plaintiffs’ Motion to

  Exclude the Testimony and Opinions of Dr. Sandeep Chatterjee, (Dkt. 585), Bright

  House’s Motion to Exclude the Opinions and Testimony of Kristofer Buchan, (Dkt.

  580), Plaintiffs’ Motion to Exclude or Limit Expert Testimony of Dr. Karl N. Snow,

  (Dkt. 588), Bright House’s Motion to Exclude the Opinions and Testimony of Paul

  Geluso and the “Listeners”, (Dkt. 586), Plaintiffs’ Motion to Exclude Certain
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  Opinions and Testimony of Dr. Kevin Almeroth, (Dkt. 582), Bright House’s Motion

  to Exclude the Opinions and Testimony of Harold Furchtgott-Roth. (Dkt. 583) For

  the reasons set forth on the record at the hearing, the Court hereby ORDERS as

  follows:

     1. Plaintiffs’ Motion to Strike Portions of the Declarations of Duncan Hall,

        Timothy Frendberg, and Andrew Schapiro, (Dkt. 483), and Plaintiffs’ Motion

        to Strike Portions of the Opposition Declarations of Duncan Hall, Timothy

        Frendberg, and Andrew Schapiro, (Dkt. 519), are DENIED. As explained on

        the Record, the Court, in considering the Parties’ motions for summary

        judgment, will excise any portion of Shapiro’s declaration that exceeds

        summary and descriptiveness.

     2. Plaintiffs’ Motion to Exclude Certain Opinions and Testimony of Dr. Aram

        Sinnreich, (Dkt. 590), is DENIED IN LARGE PART, GRANTED IN

        LIMITED PART. The extent to which Dr. Sinnreich will be allowed to testify

        about the music industry being exploitative of creative labor will be driven

        largely by any primary argument that the Plaintiffs are altruistic, paternalistic

        entities seeking to protect the interests of creative labor. As explained at the

        hearing, with respect to Dr. Chatterjee’s ability to testify about the International

        Sound Recording Codes (“ISRCs”), the Court takes that question under

        advisement. The Court will reconsider any request as to that aspect of the

        opinion if he is asked about those questions. Additionally, on further




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        consideration, the Court GRANTS Plaintiffs’ motion to preclude Dr. Sinnreich

        from testifying that termination is an unnecessary and disproportionate

        response to demonstrated infringement. He offers no basis for that opinion, and

        it runs counter to the instructions the jury will be given if it finds proof of

        infringement. He may testify that it would be disproportionate to allegations of

        possible infringement if that opinion is preserved in his report.

     3. Bright House’s Motion to Exclude the Opinions and Testimony of Professor On

        Amir, (Dkt. 578), is GRANTED. On Amir’s opinion analyzes the survey

        research conducted and explained in the two Jupiter Research Reports cited in

        Dr. Sinnreich’s Report and criticizes the reliability of Dr. Sinnreich’s

        conclusions. However, On Amir acknowledges that he never reviewed the

        surveys. His conclusions about the surveys are all based on assumptions about

        how the surveys were conducted. Just by way of example, On Amir claims that

        “[t]he Jupiter Research Reports reflect self-reported data on respondents’

        behaviors and purchasing decisions[,]” and that “[i]t is unclear whether the

        Jupiter Research surveys were conducted according to survey best practices.”

        (On Amir Expert Report at ¶ 11) Yet, he cannot verify the accuracy of these

        criticisms of the underlying surveys because he admits that he never reviewed

        the survey instruments or protocols. Consequently, the Court finds that he has

        no basis to offer such opinions on the record.

     4. Bright House’s Motion to Exclude the Opinions and Testimony of Barbara

        Frederiksen-Cross, (Dkt. 579), is GRANTED IN PART AND DENIED IN


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        PART. The Court finds that Ms. Frederiksen-Cross’ lack of a Ph.D., Master’s,

        B.A., or B.S. does not preclude her from offering expert opinions, based on her

        extensive practical experience. See United States v. Frazier, 387 F.3d 1244,

        1261 (11th Cir. 2004) (explaining that Fed. R. Evid. 702 provides that

        “experience in a field may offer another [aside from scientific training or

        education] path to expert status”). However, the Court will not permit her to

        rely on unverified hearsay comprised of alleged statements of interested parties

        and witnesses. Plaintiff will need to authenticate/offer the statements and

        conversations on which she relies to form her expert opinion. Additionally,

        Plaintiffs will need to sanitize Ms. Frederiksen-Cross’s report of the use of

        infringement, infringing, abusers, repeat infringers, piracy or other similar

        language as she concedes she is not offering an opinion on infringement.

        Finally, the witness will not be allowed to testify as to any review of “portions

        of Mark Monitor's source code [that] were located after the date of [her] initial

        expert report.” (146:21–148:4) The expert report has not been amended to

        reflect any such opinions, and the deadlines for expert discovery have expired.

     5. Plaintiffs’ Motion to Exclude the Testimony and Opinions of Dr. Sandeep

        Chatterjee, (Dkt. 585), is DENIED. He is qualified to issue opinions on all

        issues for which he is proffered. As explained at the hearing, with respect to Dr.

        Chatterjee’s ability to testify about the International Sound Recording Codes

        (“ISRCs”), the Court will reconsider any request as to that aspect of the opinion

        if he is asked those questions at trial.


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     6. Bright House’s Motion to Exclude the Opinions and Testimony of Kristofer

        Buchan, (Dkt. 580), is DENIED. Buchan will be allowed to testify with the

        limitations in the stipulation agreed to between the Parties: (1) Plaintiffs will

        sanitize Buchan’s Report and (all others) relating to his use of “piracy”,

        “infringed” or “infringers” or “repeat infringers”; and (2) Plaintiff will withdraw

        paragraphs 19 through 23 and paragraphs 28 and 29 from Buchan’s Report. The

        Parties are DIRECTED to provide the Court with jointly proposed jury

        instructions, in advance of Buchan’s testimony, that explain the significance

        and limitations of Buchan’s use of three Work-in-Suit Notices in his analysis.

        Specifically, these instructions must explain that Buchan was instructed by

        counsel to use the receipt of three notices as a threshold for his analysis. The

        receipt of three notices does not necessarily equate to imputing Bright House

        with knowledge of alleged infringement and is a finding the jury is to consider

        based on the evidence offered at trial and the law as instructed by the Court.

     7. Plaintiffs’ Motion to Exclude or Limit Expert Testimony of Dr. Karl N. Snow,

        (Dkt. 588), is DENIED. The Court finds, however, that the last sentence of

        paragraph 68 of Dr. Snow’s Report, “[snapshots taken by MarkMonitor of the

        torrent appearing on a device connected to that subscriber’s network] do not

        necessarily imply multiple (or even any) distributions by the subscriber, nor do

        they necessarily reflect any additional actions taken by the subscriber between

        two consecutive detections,” is outside his purview of knowledge and he should




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        not be asked about it or provide an opinion about it at trial. (Snow Expert

        Report at ¶ 68)

     8. Bright House’s Motion to Exclude the Opinions and Testimony of Paul Geluso

        and the “Listeners”, (Dkt. 586), is DENIED without Prejudice subject to the

        Court’s resolution of the admissibility of an attestation from Epiq that the files

        marked with Charter bates numbers are the same files as the ones at issue in the

        Bright House case. The Court additionally reserves on the ultimate admissibility

        of this testimony subject to a factual showing that the files reviewed by Geluso’s

        team adequately replicate the hash texts associated with the notices provided to

        Bright House customers from RIAA between 2012 and 2015. Specifically,

        Plaintiffs claim they will proffer fact witnesses to lay a proper foundation that

        these files are sufficiently representative of the original hash texts associated

        with the inquiries of Bright House customers whose alleged infringing material

        was never downloaded and saved, or otherwise verified except by comparison

        to hash texts that appear to have been lost at some point and then recompiled

        in 2016.

     9. Plaintiffs’ Motion to Exclude Certain Opinions and Testimony of Dr. Kevin

        Almeroth, (Dkt. 582), is DENIED IN PART AND GRANTED IN PART. It

        is DENIED as to (i) his opinion about the feasibility and technical feasibility of

        the measures proposed by Dr. McGarty and Ms. Frederiksen-Cross, if they are

        called to testify on those points, (ii) his understanding of Bright House’s

        technical capability as informed by others, whose testimony is properly elicited


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        or presented on the record, (iii) his testimony as to net neutrality implications

        as they existed in the time period that is relevant, without regard to changes and

        modifications in law, and (iv) his testimony about the importance of the internet

        to provide context for his testimony. Plaintiff’s Motion is GRANTED as to

        Almeroth’s proposed testimony relating to the human rights violations or

        implications in footnote 40 of his expert report because, if it is relevant at all, it

        would be overly prejudicial.

        10.    Bright House’s Motion to Exclude the Opinions and Testimony of

        Harold Furchtgott-Roth, (Dkt. 583), is GRANTED IN PART. Dr. Furchtgott-

        Roth will not be permitted to testify to the estimated total revenue [value

        redacted for confidentiality but found at page 15 of redacted Bright House’s

        Motion to Exclude the Opinions and Testimony of Harold Furchtgott-Roth

        (Dkt. 583)] realized from the 45,889 subscribers who were the subject of at least

        three Digital Millennium Copyright Act (“DMCA”) Notices. (Dr. Furchtgott-

        Roth Expert Report at ¶¶ 65–66) This total revenue number has no relevance to

        this case because these subscribers received notices from “any source” (i.e.,

        other unrelated ISP providers such as Comcast, Time Warner Cable, etc.), and,

        unless demonstrated otherwise, Plaintiffs will not be providing evidence of these

        subscribers’ infringement. Any marginal relevance of realized revenue from

        subscribers who received notices from any source is substantially outweighed by

        the risk of unfair prejudice associated with such testimony. See Fed. R. Evid.

        403 (“The court may exclude relevant evidence if its probative value is


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        substantially outweighed by a danger of one or more of the following: unfair

        prejudice…”). Similarly, Dr. Furchtgott-Roth will not be permitted to testify

        about the estimated total revenue realized from the 21,874 Bright House

        subscribers “who were the subject of an RIAA notice.” (Id. at ¶¶ 65–66)

        (emphasis added) [value redacted for confidentiality but found at page 32 of

        Exhibit A to redacted Bright House’s Motion to Exclude the Opinions and

        Testimony of Harold Furchtgott-Roth, (Dkt. 583)] It is the Court’s

        understanding that Plaintiffs are only making claims of, and will only be

        offering evidence of, infringement for those subscribers who received at least

        three RIAA notices. Unless Plaintiffs intend to do otherwise, testimony about

        alleged unrealized profits from anyone who received fewer than three RIAA

        notices is confusing, highly prejudicial and has marginal relevance.

        Additionally, Dr. Furchtgott-Roth will not be permitted to quantify Bright

        House’s economic incentive to retain alleged infringing customers based on the

        value of Charter’s purchase of Bright House in 2016 divided by the number of

        Bright House residential subscribers. (Id. at ¶ 76) [value redacted for

        confidentiality but found at page 38 of Exhibit A to Bright House’s redacted

        Motion to Exclude the Opinions and Testimony of Harold Furchtgott-Roth,

        (Dkt. 583)] This calculation improperly applies the valuation of Bright House’s

        entire business over the number of residential subscribers to determine the value

        of retaining residential Bright House subscribers and is not probative of any fact

        and is unduly prejudicial. Dr. Furchtgott-Roth offers no basis for such a


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        valuation, nor does Buchan, on whose assumptions he relies for this calculation.

        The Court reserves ruling on the admissibility of Dr. Furchtgott-Roth’s

        opinions relating to the music industry and the impact of P2P sharing. The

        Court finds that it is not immediately clear that Dr. Furchtgott-Roth has any

        expertise that would qualify him to render such opinions. (Compare Furchtgott-

        Roth testimony on direct at 241:3–241:22 to his cross at 265:7-269:23)

        Therefore, the admissibility of these opinions, if offered at trial, is subject to

        Plaintiffs’ ability to lay a foundation for his qualifications to opine on these

        subjects.

     11. On their stipulation, the Plaintiffs are to sanitize ALL reports that invoke terms

        of “infringement”, “infringer”, “repeat infringer” and “piracy” from any expert

        who is not proffered to offer such opinions. The Parties should also understand

        that expert reports will not be admitted into evidence as substantive evidence

        but may be relied upon and referred to by the experts to refresh their memory

        in rendering their testimony. Thus, to sanitize the report is also to instruct the

        witness not to refer to infringers and the like unless they have been qualified to

        offer an opinion on that issue as set forth above.

        DONE and ORDERED in Tampa, Florida, this 8th day of June, 2022.




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   Copies furnished to:
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